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lN THE UN|TED STATES DlSTRlCT COURT
FOR THE WESTEHN DISTR|CT OF TENNESSEE 35 §U§ '”f F"'i lZ: 32
WESTERN DlV|SlON

 

 

UN|TED STATES OF AMER|CA,
P|aintiff,

VS.
CFt. NO. 03-20451-5

N |CHOLAS MORROW,

Defendant.

 

ORDEFl ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

re ort date of Nlonda Au ust 29 2005 at 9:30 a.m., in Courtroom l. ilth Floor ot the

 

Federal Bui|ding, l‘\/|emphisl TN.
The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ol justice served in allowing for additional

time to prepare outweigh the need for a spe dy trial.
S¥'\
lT lS SO OFtDEFtED this [ day§l`m§ 2005.

 

 

. D NlEL BFlEEN
UNl ED STATES D|STRIC JUDGE

rlllS JUCULTIBHL G|'l[i:‘lEG Oli l'l€ UOCK€l§`lLS`[i !'l c(JIT`lP`; 'Q.llCt:)

with Hule 55 and/or 3203 b)Fl-iGrP on Z OS

 

 

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This notice confirms a copy of the document docketed as number 40 in
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Honorable J. Breen
US DISTRICT COURT

